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                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE EASTERN DISTRICT OF TEXAS

                                       TYLER DIVISION



UNITED STATES OF AMERICA                        §

Vs.                                             §           CRIMINAL ACTION 6:04CR98(2)

JASON CHRISTOPHER RODGERS                       §



         ORDER ADOPTING MAGISTRATE JUDGE’S FINDINGS OF FACT AND
                RECOMMENDATION ON FELONY GUILTY PLEA


       On this day, the Court considered the Findings of Fact and Recommendation of United States

Magistrate Judge Judith K. Guthrie regarding the Defendant’s plea of guilty to Count 2 of the 17-

Count Superseding Indictment in the above-numbered cause. Having conducted a proceeding in the

form and manner prescribed by Fed.R.Crim.P. 11, Magistrate Judge Guthrie recommends that the

Court accept the plea agreement and the guilty plea of the Defendant.

       No objections have been filed to the Magistrate Judge’s Findings and Recommendation

within the time period set by law, and neither party has requested a de novo review of the plea

proceedings before the Magistrate Judge. If a de novo review becomes necessary at any point during

the pendency of the cause, the Court reserves the right to conduct it. Based on the current record

before the Court, it appearing that the Findings and Recommendation are neither clearly erroneous

nor contrary to law, the Court is of the opinion that said Findings and Recommendation should be

adopted. It is accordingly


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        ORDERED that the Findings of Fact and Recommendation of United States Magistrate

Judge Judith K. Guthrie, filed July 27, 2005, is hereby ADOPTED. It is further

        ORDERED that the Defendant’s guilty plea is accepted and approved by the Court. Further,

the plea agreement is approved by the Court, conditional upon a review of the presentence report.

It is finally

        ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant

GUILTY of Count 2 of the Superseding Indictment in the above-numbered cause and enters a

JUDGMENT OF GUILTY against the Defendant as to Count 2 of the Superseding Indictment.


        So ORDERED and SIGNED this 26th day of August, 2005.




                             __________________________________
                             LEONARD DAVIS
                             UNITED STATES DISTRICT JUDGE




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